          Case 2:16-cr-00198-SMJ           ECF No. 156       filed 03/02/17       PageID.421 Page 1 of 1
✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                                FILED IN THE
                                                                                                      U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT OF WASHINGTON
                                                           for
                                           Eastern District of Washington                        Mar 02, 2017
                                                                                                     SEAN F. MCAVOY, CLERK



U.S.A. vs.                 Thomason, Mandy Lee                         Docket No.             2:16CR00198-SMJ-5

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Mandy Lee Thomason, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers sitting in the court at Spokane, Washington, on the 20th day of December 2016 under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #3: The defendant tested positive for the presence of amphetamine and methamphetamine on February 22, 2017.

 PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                      PREVIOUSLY REPORTED TO THE COURT
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       March 1, 2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ X] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                           Signature of Judicial Officer
                                                                                March 2, 2017

                                                                           Date
